  Case 16-11321-CMG    Doc 69    Filed 07/24/19 Entered 07/24/19 08:44:15          Desc Main
                                Document      Page 1 of 4




                                                              Order Filed on July 24, 2019
                                                                        by Clerk
                                                                U.S. Bankruptcy Court
                                                                District of New Jersey




DATED: July 24, 2019
Case 16-11321-CMG   Doc 69    Filed 07/24/19 Entered 07/24/19 08:44:15   Desc Main
                             Document      Page 2 of 4
Case 16-11321-CMG     Doc 69    Filed 07/24/19 Entered 07/24/19 08:44:15   Desc Main
                               Document      Page 3 of 4




/s/ Christopher M. McMonagle
Case 16-11321-CMG   Doc 69    Filed 07/24/19 Entered 07/24/19 08:44:15   Desc Main
                             Document      Page 4 of 4
